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    UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF
                           TEXAS, DALLAS DIVISION
In Re: Highland Capital Management, L.P. § Case No. 19-34054-SGJ-11
Hunter Mountain Investment Trust
                        Appellant        §
vs.                                      §
Highland Capital Management, L.P, et al  §      3:23-CV-2071-E
                             Appellee              §
  [3904] Order Pursuant to Plan "Gatekeeper Provision" and Pre-Confirmation "Gatekeeper Orders"
Denying Hunter Mountain Investment Trust's Emergency Motion for Leave to File Verified Adversary
Proceeding. Entered on 8/25/2023.

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                                             V.      Background

           26.     As part of this Court’s Governance Order, an independent board of

directors—which included Seery as one of the selections of the Unsecured Creditor’s

Committee—was appointed to the Board of Directors (the “Board”) of Strand Advisors,

Inc., (“Strand Advisors”), the Original Debtor’s general partner. Following approval of

the Governance Order, the Board then appointed Seery as the Original Debtor’s CEO and

CRO. 34 Following the Effective Date of the Plan, Seery now serves as Trustee of the

Claimant Trust (the Reorganized Debtor’s sole post-reorganization limited partner), and

continues to serve as the Reorganized Debtor’s CEO. 35

           27.     Imbued with his powers as CEO and CRO, Seery negotiated and obtained

bankruptcy court approval of several settlements prior to the Effective Date, resulting in

the following approximate allowed claims (hereinafter “Claims”): 36

                         Creditor            Class 8              Class 9
                         Redeemer            $137 mm              $0 mm
                         Acis                $23 mm               $0 mm
                         HarbourVest         $45 mm               $35 mm
                         UBS                 $65 mm               $60 mm
                         (Totals)            $270 mm              $95 mm




34   Doc. 854, Order Approving Retention of Seery as CEO/CRO.
35   See Doc. 1943, Order Approving Plan, p. 34.
36   Orders Approving Settlements [Doc. 1273, Doc. 1302, Doc. 1788, Doc. 2389].



                                                     [16]

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Each of the settling parties curiously sold their Claims to Farallon or Stonehill (or their

affiliated special purpose entities) shortly after they obtained court approval of their

settlements. One of these “trades” occurred within just a few weeks before the Effective

Date. Farallon and Stonehill coordinated and controlled the purchase of these Claims

through Muck and Jessup, and they admitted in open court that Muck and Jessup were

created to allow their purchase of the Claims. 37

           28.      HMIT alleges that Seery filed (or caused to be filed) deflated, misleading

projections regarding the value of the Debtor’s Estate, 38 while inducing unsecured

creditors to discount and sell their Claims to Farallon and Stonehill. But as reflected in

the attached declarations, it is now known that Seery provided material, non-public

information to Farallon. The circumstantial evidence is also clear that both Farallon and

Stonehill had access to and used this non-public information in connection with their

purchase decisions.

           29.      Farallon and Stonehill are registered investment advisors who have their

own fiduciary duties to their investors, and they are acutely aware of what these duties

entail. Yet, upon information and belief, they collectively invested over $160 million

dollars to purchase the Claims in the absence of any publicly available information that




37   See Ex. 4-B, Rule 202 Transcript at 55:22-25.
 The pessimistic projections were issued as part of the Plan Analysis on February 2, 2021. [Doc. 1875-1].
38

The Debtor projected 0% return on Class 9 claims and only 71.32% return on Class 8 Claims.



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could rationally justify such investments. These “trades” become even more suspect

because, at the time of confirmation, the Plan provided pessimistic projections advising

stakeholders that the Claim holders would never receive full satisfaction:

                      From October 2019, when the original Chapter 11 Petition was
                       filed, to January 2021, just before the Plan was confirmed, the
                       valuation of HCM’s assets dropped over $200 million from $566
                       million to $328.3 million. 39

                      HCM’s Disclosure Statement projected payment of 71.32% of
                       Class 8 claims, and 0% of claims in Classes 9-11; 40

                         o This meant that Farallon and Stonehill invested more than
                           $103 million in Claims when the publicly available
                           information indicated they would receive $0 in return on
                           their investment as Class 9 creditors and substantially less
                           than par on their Class 8 Claims.

                      In HCM’s Q3 2021 Post-Confirmation Report, HCM reported that
                       the amount of Class 8 claims expected to be paid dropped even
                       further from 71% to 54%; 41

           30.     In the third financial quarter of 2021, just over $6 million of the projected

$205 million available to satisfy general unsecured creditors was disbursed. 42 No

additional distributions were made to the unsecured claimholders until, suddenly, in Q3

2022 almost $250 million was paid toward Class 8 general unsecured claims—$45 million

more than was ever projected. 43


39   Doc. 1473, Disclosure Statement, p. 18.
40   Doc. 1875-1, Plan Supplement, p. 4.
41   Doc 2949.
42   Doc 3200.
43   Doc 3582.



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           31.       According to Highland Capital’s Motion for Exit Financing, 44 and a recent

motion filed by Dugaboy Investment Trust, 45 there remain substantial assets to be

monetized for the benefit of the Reorganized Debtor’s creditors. Thus, upon information

and belief, Stonehill and Farallon, stand to realize significant profits on their wrongful

investments. In turn, Stonehill and Farallon will garner (and already have garnered)

substantial fees – both base fees and performance fees – as the result of their acquiring

and/or managing the Claims. Upon information and belief, HMIT also alleges that Seery

has received excessive compensation and bonuses approved by Farallon (Muck) and

Stonehill (Jessup) as members of the Oversight Board.

           32.       As evidenced in the supporting declarations (Exs. 2 and 3):

                    Farallon admitted it conducted no due diligence and relied upon
                     Seery in making its multi-million-dollar investment decisions at
                     issue. 46

                    Farallon admitted it was unwilling to sell its stake in these Claims at
                     any price because Seery assured Farallon that the Claims were
                     tremendously valuable. 47

                    Farallon bragged about the value of its investment referencing non-
                     public information regarding Amazon, Inc.’s (“Amazon”) interest in
                     acquiring Metro-Goldwyn-Mayer Studios Inc. (“MGM”). 48




44   Doc 2229.
45   Doc 3382.
46   See Ex. 2, 2022 Dondero Declaration.
47   See Ex. 2, 2022 Dondero Declaration, Ex. 3, 2023 Dondero Declaration.
48   See Ex. 3, 2023 Dondero Declaration.



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                    Farallon was unwilling to sell its stake in the newly acquired Claims
                     even though publicly available information suggested that Farallon
                     would lose millions of dollars on its investment. 49

Farallon can offer no credible explanation to explain its significant investment, and its

refusal to sell at any price, except Farallon’s access to material non-public information. In

essence, Seery became the guarantor of Farallon’s significant investment. Farallon

admitted as much in its statements to James Dondero.

           33.       The same holds true for Stonehill. Given the negative, publicly available

information, Stonehill’s multi-million-dollar investments make no rational sense unless

Stonehill had access to material non-public information.

           34.       Fed. R. Bank. P. 2015.3 requires debtors to “file periodic financial reports of

the value, operations, and profitability of each entity that is not a publicly traded

corporation or a debtor in a case under title 11, and in which the estate holds a substantial

or controlling interest.” However, no public reports required by Rule 2015.3 were filed.

Seery testified they simply “fell through the cracks.” 50

           35.       Six days prior to the filing of the motion seeking approval of the

HarbourVest Settlement, Seery acquired material non-public information regarding

Amazon’s interest in acquiring MGM. 51 Upon receipt of this material non-public




49   See Ex. 3, 2023 Dondero Declaration, see also Doc. 1875-1.
50   Doc. 1905, February 3, 2021, Hearing Transcript, 49:5-21.
51   See Adversary No. 20-3190-sgj11, Doc. 150-1.



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information, MGM should have been placed on the Original Debtor’s “restricted list,” but

Seery continued to move forward with deals that involved MGM stock and notes. 52

Because the Original Debtor additionally held direct interests in MGM, 53 the value of

MGM was of paramount importance to the value of the estate.

           36.     Armed with this and other insider information, Farallon—through Muck—

proceeded to invest in the Claims and, acting through Muck, acceded to a powerful

position on the Oversight Board to oversee future distributions to Muck and itself. It is

no coincidence Seery invited his business allies into these bankruptcy proceedings with

promises of great profits. Seery’s allies now oversee his compensation. 54

           37.     The Court also should be aware that the Texas States Securities Board

(“TSSB”) opened an investigation into the subject matter of the insider trades at issue,

and this investigation has not been closed. The continuing nature of this investigation




52As part of the HarbourVest Settlement, Seery negotiated the purchase of HarbourVest’s interest in
HCLOF for approximately $22.5 million as part of the transaction. Approximately 19.1% of HCLOF’s assets
were comprised of debt and equity in MGM. The HCLOF interest was not to be transferred to the Debtor
for distribution as part of the bankruptcy estate, but rather to “to an entity to be designated by the
Debtor”—i.e., one that was not subject to typical bankruptcy reporting requirements. Doc. 1625, p. 9, n. 5.
Doc. 1625.
53   See Doc. 2229, Motion for Exit Financing.
54 Amazon closed on its acquisition of MGM in March 2022, but the evidence strongly suggests that
agreements for the trades already had been reached - while announcement of the trades occurred
strategically after the MGM news became public. Now, as a result of their wrongful conduct, Stonehill and
Farallon profited significantly on their investments, and they stand to gain substantially more profits.




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underscores HMIT’s position that the claims described in the attached Adversary

Proceeding are plausible and certainly far more than merely “colorable.”

                                       VI.    Argument

       A.     HMIT has asserted Colorable Claims against Seery, Stonehill, Farallon,
              Muck, and Jessup.

       38.    Unlike the terms “Enjoined Party,” “Protected Party,” or “Exculpated

Party,” the Plan does not define what constitutes a “colorable” claim. Nor does the

Bankruptcy Code define the term. However, relevant authorities suggest that a Rule

12(b)(6) standard is an appropriate analogue.

       39.    The Fifth Circuit has held that a “colorable” claim standard is met if a

[movant], such as HMIT, has asserted claims for relief that, on appropriate proof, would

allow a recovery. A court need not and should not conduct an evidentiary hearing but

must ensure that the claims do not lack any merit whatsoever. Louisiana World Exposition

v. Fed. Ins. Co., 858 F.2d 233, 248 (5th Cir. 1988). Stated differently, the Court need not be

satisfied there is an evidentiary basis for the asserted claims but instead should allow the

claims if they appear to have some merit.

       40.    Other federal appellate courts have reached similar conclusions. For

example, the Eighth Circuit holds that “creditors’ claims are colorable if they would

survive a motion to dismiss.” In re Racing Services, Inc., 540 F.3d 892, 900 (8th Cir. 2008);

accord In Re Foster, 516 B.R. 537, 542 (B.A.P. 8th Cir. 2014), aff’d 602 Fed. Appx. 356 (8th

Cir. 2015) (per curiam). The Sixth Circuit has adopted a similar test requiring that the court


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look only to the face of the complaint to determine if claims are colorable. In re The Gibson

Group, Inc., 66 F.3d 1436, 1446 (6th Cir. 1995) (emphasis added).

       41.    Although there is a dearth of federal court authorities in Texas, other federal

courts have adopted the same standard—i.e., a claim is colorable if it is “plausible” and

could survive a motion to dismiss. See In re America’s Hobby Center, Inc., 223 B.R. 273, 282

(S.D.N.Y 1998). In addition, in the non-bankruptcy context, the District Court for the

Northern District of Texas explained that “[t]he requirement of a ‘colorable claim’ means

only that the plaintiff must have an ‘arguable claim’ and not that the plaintiff must be able

to succeed on that claim.” Gonzales v. Columbia Hosp. at Med. City Dallas Subsidiary, L.P.,

207 F. Supp. 2d 570, 577 (N.D. Tex. 2002) (Emphasis added).

       42.    Thus, in this instance, this Court’s gatekeeping inquiry is properly limited

to whether HMIT has stated a plausible claim on the face of the proposed pleadings

involving “bad faith,” “willful misconduct,” or “fraud.” Because the face of the

Adversary Complaint alleges plausible facts, HMIT’s Motion is properly granted.

Clearly, the attached Adversary Proceeding would survive a Rule 12(b)(6) challenge.

Furthermore, the supporting declarations and documentary evidence provide additional

support, and the circumstantial evidence proves that Farallon and Stonehill, strangers to

the bankruptcy on the petition date, would not have leaped into these proceedings

without undisclosed assurances of profit.




                                            [23]

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           B. Fraud

           43.     As set forth in the proposed Adversary Proceeding, HMIT alleges a

colorable claim for fraud—both fraud by knowing misrepresentation and fraud by

omission of material fact. Here, these allegations of fraud are appropriately governed by

Texas law under appropriate choice of law principals. 55

           44.     Seery had a duty to not provide material inside information to his business

allies. But, he did so. At the latest, Seery became aware of the potential sale of MGM in

December 2020 when he received an email from Jim Dondero. 56 Thus, Seery knew at that

time that this potential sale would likely yield significant value to the Original Debtor’s

Estate. Yet, the financial disclosures associated with the Plan’s confirmation, which were

provided only a month later, presented an entirely different outlook for both Class 8 and

Class 9 unsecured creditors. 57 Seery knew at that time that these pessimistic disclosures

were misleading, if not inaccurate.

           45.     There is no credible doubt Seery intended that innocent stakeholders would

rely upon the pessimistic projections set forth in the Plan Analysis. Indeed, the singular

purpose of the Plan Analysis was to advise stakeholders. As such, HMIT alleges that

Seery knowingly made misrepresentations with the intention that innocent stakeholders



55However, Delaware law is substantially similar on the elements of fraud. See Malinals v. Kramer, No.
CIV.A. CPU 6-11002145, 2012 WL 174958, at 2 (Del. Com. PI. Jan. 5, 2012)
56   See, Dondero 2022 Dec., Ex. 2-1.
57   See Doc. 1875-1, Plan Analysis, February 1, 2021.



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would rely, and that he failed to disclose material information concerning his

entanglements with Farallon and Stonehill, as well as the related negotiations that were

chock full of conflicts of interest.

           46.     On the flip side of this conspiracy coin, Farallon and Stonehill were engaged

in negotiations to acquire the Claims at discounted prices; and, they successfully did so.

HMIT alleges that their success was based on knowledge that the financial disclosures

associated with the Plan Analysis were significantly understated. Otherwise, it would

make no financial sense for Farallon and Stonehill to do the deals at issue. Indeed,

Farallon admitted that it would not sell the Claims at any price, expressing great

confidence in the substantial profits it expected even in the absence of any supporting,

publicly available information. 58

           47.     All of the Proposed Defendants had a duty of affirmative disclosure under

these circumstances. Seery always had this duty. Muck, Jessup, Farallon, and Stonehill

assumed this duty when they became non-statutory “insiders.” Thus, all of the Proposed

Defendants are liable for conspiring to perpetrate a fraud by omission of material facts.

           48.     HMIT also claims that Seery and the other Proposed Defendants failed to

disclose material information concerning Seery’s involvement in brokering the Claims in

exchange for quid pro quo assurances of enhanced compensation. Seery’s compensation




58   Ex. 3, 2023 Dondero Declaration.



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should be disgorged or, alternatively, such compensation constitutes a damage

recoverable by the Reorganized Debtor and Claimant Trust as assignees (or transferees)

of the Original Debtor’s causes of action. This compensation was the product of the

alleged self-dealing, breaches of fiduciary duty, and fraud.

       C. Breaches and Aiding and Abetting Breaches of Fiduciary Duties

       49.     It is beyond dispute Seery owed fiduciary duties to the Estate. See Xtreme

Power, 563 B.R. at 632-33 (detailing fiduciary duties owed by corporate officers and

directors under Delaware law); 59 Louisiana World, 858 F.2d at 245-46 (5th Cir. 1988)

(detailing duties owed by debtors-in-possession). Although Seery did not buy the Claims

at issue, he stood to profit from these sales because his close business allies would do his

bidding after they had acceded to positions of power and control on the Oversight Board.

Muck and Jessup were essentially stepping into the shoes of three of the largest

unsecured creditors who were already slated to serve on the Oversight Board. Thus, by

acquiring their Claims, all of the Proposed Defendants knew that Muck and Jessup would

occupy these powerful oversight positions after the Effective Date.

       50.     Thus, the alleged conspiracy was successfully implemented before the

Effective Date. Farallon and Stonehill now occupy control positions through the shell



59 The Xtreme case also notes that “several Delaware courts have recognized that ‘directors who are
corporate employees lack independence because of their substantial interest in retaining their
employment.” 563 B.R. at 633-34. Because Muck and Jessup are now in control of Seery’s compensation, it
follows that Seery is beholden to them, and Seery’s disclosure of inside information to Stonehill and
Farallon confirms his conflict of interest.



                                                 [26]

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entities (Muck and Jessup) overseeing large compensation packages for Seery. Of course,

this control (and the opportunity to control) presented a patent conflict of interest which

Seery should have avoided, but instead knowingly created, fostered, and encouraged.

HMIT alleges that Seery breached his duty to avoid this conflict or otherwise disclose this

conflict and Farallon and Stonehill aided and abetted this breach.

            51.   The Original Debtor, as an investment adviser registered with the SEC, is

also required to make public disclosures on its Form ADV, the uniform registration form

for investment advisers required by the SEC. These Form ADV disclosures, which were

in effect at the time of the insider trades at issue, explicitly forbade “any access person

from trading either personally or on behalf of others . . . on material non-public

information or communicating material non-public information to others in violation of

the law or duty owed to another party.”60 It now appears these representations were false

when made. Seery’s alleged conduct also violated, at minimum, the duties Seery owed in

his various capacities with the Original Debtor under the Form ADV disclosures.

            52.   Although initially strangers to the original bankruptcy, by accepting and

using inside information, Farallon and Stonehill became “temporary insiders” and thus

owed separate duties to the Estate. See S.E.C. v. Cuban, 620 F.3d 551 (5th Cir. 2010) (“[E]ven




60   See, e.g.,
https://files.adviserinfo.sec.gov/IAPD/Content/Common/crd_iapd_Brochure.aspx?BRCHR_VRSN_ID=77
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an individual who does not qualify as a traditional insider may become a ‘temporary

insider’ if by entering ‘into a special confidential relationship in the conduct of the

business of the enterprise [they] are given access to information solely for corporate

purposes.” In re Washington Mut., Inc., 461 B.R. 200 (Bankr. D. Del. 2011), vacated in

part, 08-12229 MFW, 2012 WL 1563880 (Bankr. D. Del. Feb. 24, 2012) (finding that equity

committee stated colorable claim for equitable disallowance against creditors who

“became temporary insiders of the Debtors when the Debtors gave them confidential

information and allowed them to participate in negotiations with JPMC for the shared

goal of reaching a settlement that would form the basis of a consensual plan of

reorganization”; vacated in part as a condition of settlement only); 61 See also, In re Smith,

415 B.R. 222, 232-33 (Bankr. N.D. Tex. 2009) (“[a]n insider is an entity or person with ‘a

sufficiently close relationship with the debtor that his conduct is made subject to closer

scrutiny than those dealing at arm’s length with the debtor.’ ‘Thus, the term “insider” is

viewed to encompass two classes: (1) per se insiders as listed in the Code and (2) extra-

statutory insiders that do not deal at arm’s length.’” (citations omitted)). Farallon,

Stonehill, Muck, and Jessup clearly fall into this latter category.



61Although the Washington Mutual case was subsequently vacated, the Court’s intellectual reasoning
remains valid because the vacatur was mandated by a mediated settlement, not because the court’s logic
was flawed or changed, and the court expressly noted that the parties’ settlement was conditioned on
vacatur. See In re Washington Mut., Inc., No. 08-12229 MFW, 2012 WL 1563880, *8 (Bankr. D. Del. Feb. 24,
2012) (“grant[ing] partial vacatur . . . in furtherance of the settlement embodied in the Plan,” and noting that
“absent the requested vacatur, the collapse of the Plan could result in the termination of the Global
Settlement Agreement.” (emphasis added)).



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       53.    Because Farallon and Stonehill (acting through Muck and Jessup) now hold

the majority of the seats on the Oversight Board, they, along with Seery, exercise control

of the reorganization proceedings. At no time were Farallon, Stonehill, or Seery’s plans

disclosed to the other creditors or equity. In fact, the only inference that can be reasonably

drawn is that Farallon and Stonehill brazenly sought to conceal their involvement by

establishing shell entities—Muck and Jessup—to nominally hold the Claims and create

an opaque barrier to any effort to identify the “Oz behind the curtain.” Such conduct aligns

precisely with the inequitable conduct detailed in Citicorp and Adelphia (discussed below).

       54.    In sum, the proposed Adversary Proceeding sets forth plausible allegations

that Stonehill and Farallon were aware of Seery’s fiduciary duties. Indeed, as registered

investment advisors, both Farallon and Stonehill were acutely aware of Seery’s fiduciary

obligations, including, without limitation, the duty to act in the best interests of the

Original Debtor’s Estate and the duty not to engage in insider trading that would benefit

Seery, as an insider, and themselves, as non-statutory insiders. By accepting and then

acting on material non-public information, Farallon and Stonehill (as well as Muck and

Jessup) aided and abetted breaches of these fiduciary duties. By placing themselves in

positions to control Seery’s compensation, Farallon and Stonehill (acting through Muck

and Jessup) induced, encouraged, aided and abetted Seery’s self-dealing.




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           D. Equitable Disallowance is an Appropriate Remedy

           55.     HMIT also seeks equitable disallowance. Although the Fifth Circuit in

Matter of Mobile Steel Co. generally limited the court’s equitable powers to subordination

rather than disallowance, 62 the Fifth Circuit did not foreclose the viability of equitable

disallowance as a potential remedy. See 563 F.2d 692, 699 n. 10 (5th Cir. 1977). Binding U.S.

Supreme Court precedent in Pepper v. Litton also permits bankruptcy courts to fashion

disallowance remedies. 308 U.S. 295, 304-11 (1939). Bankruptcy Code § 510, which

supplies the authority for equitable subordination, was “intended to codify case law, such

as Pepper v. Litton . . . and is not intended to limit the court’s power in any way…. Nor does [it]

preclude a bankruptcy court from completely disallowing a claim in appropriate circumstances.”

In re Adelphia Commun. Corp., 365 B.R. 24, 71-72 (Bankr. S.D.N.Y. 2007), aff'd in part sub

nom. Adelphia Recovery Tr. v. Bank of Am., N.A., 390 B.R. 64 (S.D.N.Y. 2008), adhered to on

reconsideration, 05 CIV. 9050 (LMM), 2008 WL 1959542 (S.D.N.Y. May 5, 2008) (emphasis

and omissions in original). 63

           56.     The Fifth Circuit’s decision in Mobile Steel also was premised on the notion

that disallowance would not add to the quiver of defenses to fight unfairness because




62   Equitable subordination is an inadequate remedy in this instance.
63In Washington Mutual, the Court’s intellectual reasoning when imposing disallowance is instructive. See
In re Washington Mut., Inc., No. 08-12229 MFW, 2012 WL 1563880, *8 (Bankr. D. Del. Feb. 24, 2012)
(“grant[ing] partial vacatur . . . in furtherance of the settlement embodied in the Plan,” and noting that “absent
the requested vacatur, the collapse of the Plan could result in the termination of the Global Settlement
Agreement.” (emphasis added)).



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creditors “are fully protected by subordination” and “[i]f the misconduct directed against

the bankrupt is so extreme that disallowance might appear to be warranted, then surely

the claim is either invalid or the bankrupt possesses a clear defense against it.” Mobile

Steel, 563 F.2d at 699 n. 10 (emphasis added). Importantly, however, the factual scenarios

considered in Mobile Steel do not exist here.

       57.    Here, Muck and Jessup purchased both Class 8 and Class 9 Claims, and

they now effectively occupy more than 90% of the entire field of unsecured creditors in

these two claimant tiers. Thus, subordination cannot effectively address the current facts

where the Original Debtor’s CEO and CRO conspired directly with close business allies

who acquired the largest unsecured claims to the detriment of other innocent creditors

and former equity. The reasoning in published cases from other circuits supports this

conclusion. See Adelphia, 365 B.R. at 71-73; Citicorp Venture Capital, Ltd. v. Comm. of

Creditors Holding Unsecured Claims, 160 F.3d 982, 991 n. 7 (3d Cir. 1998).

       58.    The purpose of equitable subordination is to assure that the wrongdoer

does not profit from bad conduct. In the typical case, subordination to other creditors will

achieve this deterrence. But, it is clear that the Third Circuit’s decision in Citicorp was

structured to use subordination as just one tool in a larger tool box to make sure “at a

minimum, the remedy here should deprive – [the fiduciary] of its profit on the purchase

of the notes.” Id at 991. In Adelphia, the Southern District of New York also used equitable




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subordination as a remedy to address wrongs of non-insiders who aided and abetted

breaches a fiduciary duty by the debtor’s management. 365 B.R. at 32.

       59.    But subordination cannot adequately address the wrongful conduct at

issue. This is because subordination is typically limited to instances where one creditor is

subordinated to other creditors, not equity. Here, for all practical purposes, there are only

a few other unsecured creditors with relatively small stakes. Therefore, subordination as

a weapon of deterrence is neutered.

       60.    In sum, by engaging in the alleged wrongful acts, including aiding and

abetting Seery’s breaches of fiduciary duty, Farallon, Stonehill, Muck, and Jessup should

not be rewarded. The Proposed Defendants engaged in alleged conduct which damaged

the Original Debtor’s estate, including improper agreements to compensate Seery under

the terms of the CTA. Equitable disallowance is an appropriate remedy which, when

combined with disgorgement of all ill-gotten profits, will deprive the Proposed

Defendants of their ill-gotten gains.

       E. Disgorgement and Unjust Enrichment

       61.    The law is clear that disgorgement is an available remedy for breach of

fiduciary duty both under Texas Law, see Kinzbach Tool Co. v. Corbett-Wallace Corporation,

160 S.W. 2d 509 (Tex. 1942), and under Delaware law, see Metro Storage International, LLC

v. Harron, 275 A.3d 810 (Del. Ch. 2022). Disgorgement is also an appropriate remedy for

unjust enrichment under Texas law, Hunter v. Shell Oil Co., 198 F.2d 485 (5th Cir. 1952),



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and under Delaware law, In re Tyson Foods, Inc. Consolidated Shareholder Litigation, 919

A.2d 563 (Del. Ch. 2007). 64

        62.     Likewise, the imposition of a constructive trust is proper for addressing

unjust enrichment under both Delaware and Texas law, see Teacher’s Retirement System of

Louisiana v. Aidinoff, 900 A.2d 654 (Del. Ch. 2006) and Hsin-Chi-Su v. Vantage Drilling

Company, 474 S.W. 3d 384 (Tex. App. – 14th Dist. 2015), pet. denied. The elements of unjust

enrichment are: (1) the defendant must have gained a benefit (2) at the expense of

plaintiff, (3) and retention of that benefit must be shown to be unjust. See Restatement

(Third) of Restitution and Unjust Enrichment §321, cmt. e (2011).

        63.     Here, the imposition of a constructive trust and disgorgement are clearly

appropriate to provide redress for the alleged breaches of fiduciary duty and the knowing

participation in (or aiding and abetting) those breaches. Furthermore, the imposition of a

constructive trust and disgorgement are appropriate to disgorge the improper benefits

that all of the Proposed Defendants received by virtue of collusion and insider trading.

        64.     As set forth in the proposed Adversary Proceeding, Seery gained the

opportunity to have his compensation demands rubber stamped. The other Defendants

gained the opportunity to purchase valuable claims at a discount knowing that




64It is likely that the Internal Affairs Doctrine will dictate that Delaware choice of law governs the breach
of fiduciary duty claims.



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pessimistic financial projections were false and that the upside investment potential was

great. Retention of the benefits they received would be unjust and inequitable.

       65.    Clearly, the Debtor’s Estate was damaged by virtue of the claimed conduct.

Seery obtained profits and compensation to the detriment of that estate as well as the

estate of the Reorganized Debtor, other innocent creditors and HMIT, as former equity

and as a contingent Claimant Trust Beneficiary.

       F. Declaratory Relief

       66.    HMIT also seeks declaratory relief pursuant to Fed. R. Bank P. 7001(9).

Specifically, HMIT seeks a declaratory judgment that: (a) there is a ripe controversy

concerning HMIT’s rights and entitlements under the Claimant Trust Agreement; (b) as

a general matter, HMIT has standing to bring an action against a trustee even if its interest

is considered “contingent;” (c) HMIT’s status as a Claimant Trust Beneficiary is fully

vested upon disgorgement of the ill-gotten profits of Muck and Jessup, and by extension,

Farallon and Stonehill; (d) HMIT’s status as a Claimant Trust Beneficiary is fully vested

upon the equitable disallowance of the Claims held by Muck and Jessup over and above

their initial investments; (e) Seery is properly estopped from asserting that HMIT is not

an appropriate party to bring this derivative action on behalf of the Reorganized Debtor

and/or the Claimant Trust because of fraudulent conduct, bad faith, willful misconduct,

and unclean hands; (f) Muck and Jessup are properly estopped from asserting that HMIT

is not an appropriate party to bring this derivative action on behalf of the Reorganized



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Debtor and the Claimant Trust because of their fraudulent conduct, bad faith, willful

misconduct, and unclean hands; and (g) all of the Proposed Defendants are estopped

from asserting that HMIT does not have standing in its individual capacity due to their

fraudulent conduct, bad faith, willful misconduct, and unclean hands.

       G. HMIT has Direct Standing.

       67.    The Texas Supreme Court recently held that “a partner or other stakeholder

in a business organization has constitutional standing to sue for an alleged loss in the

value of its interest in the organization.” Pike v. Texas EMC Mgt., LLC, 610 S.W.3d 763, 778

(Tex. 2020). In so holding, the Court considered federal law and found that the traditional

“incantation that a shareholder may not sue for the corporation’s injury” is really a

question of capacity, which goes to the merits of a claim, rather than an issue of standing

that would impact subject matter jurisdiction. Id. at 777 (noting that the 5th Circuit and

“[o]ther federal circuits agree that a plaintiff has standing to sue for the lost value of its

investment in a corporation”). Because Seery, Muck, Jessup, Stonehill, Farallon’s alleged

actions devalued HMIT’s interest in the Debtor’s Estate, including, without limitation,

payment of excessive compensation to Seery, HMIT has standing to pursue its common

law claims directly. HMIT also has direct standing to seek declaratory relief as set forth

in the proposed Adversary Proceeding.




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                                      VII.     Prayer

       WHEREFORE, PREMISES CONSIDERED, Hunter Mountain Investment Trust

respectfully requests this Court grant HMIT leave authorizing it to file the Adversary

Complaint, attached as Exhibit 1, as an Adversary Proceeding in this United States

Bankruptcy Court for the Northern District of Texas, in its own name and as a derivative

action on behalf of the Debtor Highland Capital Management, L.P., against Muck

Holdings, LLC, Jessup Holdings, LLC, Farallon Capital Management, LLC, Stonehill

Capital Management, LLC, James P. Seery, Jr., and John Doe Defendants Nos. 1 – 10, and

further grant HMIT all such other and further relief to which HMIT may be justly entitled.

Dated: March 28, 2023

                                                Respectfully Submitted,
                                                PARSONS MCENTIRE MCCLEARY
                                                PLLC

                                                By: /s/ Sawnie A. McEntire
                                                    Sawnie A. McEntire
                                                    Texas State Bar No. 13590100
                                                    smcentire@pmmlaw.com
                                                    1700 Pacific Avenue, Suite 4400
                                                    Dallas, Texas 75201
                                                    Telephone: (214) 237-4300
                                                    Facsimile: (214) 237-4340

                                                    Roger L. McCleary
                                                    Texas State Bar No. 13393700
                                                    rmccleary@pmmlaw.com
                                                    One Riverway, Suite 1800
                                                    Houston, Texas 77056


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                                                    Telephone: (713) 960-7315
                                                    Facsimile: (713) 960-7347

                                                    Attorneys for Hunter Mountain
                                                    Investment Trust

                           CERTIFICATE OF CONFERENCE

        Beginning on March 24, 2023, and also on March 27, 2023, the undersigned counsel
conferred either by telephone or via email with all counsel for all Respondents regarding
the relief requested in the foregoing Motion, including John A. Morris on behalf of James
P. Seery, and Brent McIlwain on behalf of Muck Holdings LLC, Jessup Holdings LLC,
Stonehill Capital Management, and Farallon Capital Management. Mr. Seery is opposed
to this Motion. Based upon all communications with Mr. McIlwain, it is reasonably
believed his clients are also opposed and we advised him that this recitation would be
placed in the certificate of conference.



                                               _/s/ Sawnie A. McEntire
                                               Sawnie A. McEntire



                              CERTIFICATE OF SERVICE

       I certify that on the 28th day of March 2023, a true and correct copy of the foregoing
Motion was served on all counsel of record or, as appropriate, on the Respondents
directly.

                                               /s/ Sawnie A. McEntire
                                               Sawnie A. McEntire




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                            Exhibit 1 to Emergency Motion
Sawnie A. McEntire
Texas State Bar No. 13590100
smcentire@pmmlaw.com
1700 Pacific Avenue, Suite 4400
Dallas, Texas 75201
Telephone: (214) 237-4300
Facsimile: (214) 237-4340

Roger L. McCleary
Texas State Bar No. 13393700
rmccleary@pmmlaw.com
One Riverway, Suite 1800
Houston, Texas 77056
Telephone: (713) 960-7315
Facsimile: (713) 960-7347
Attorneys for Hunter Mountain Investment Trust

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                            §
 In re:                                     §
                                            §    Chapter 11
 HIGHLAND CAPITAL                           §
 MANAGEMENT, L.P.                           §    Case No. 19-34054-sgj11
                                            §
          Debtor.                           §
                                            §
                                            §
 HUNTER MOUNTAIN INVESTMENT                 §
 TRUST, INDIVIDUALLY, AND ON                §
 BEHALF OF THE DEBTOR                       §
 HIGHLAND CAPITAL                           §
 MANAGEMENT, L.P. AND THE                   §    Adversary Proceeding No. _________
 HIGHLAND CLAIMANT TRUST                    §
                                            §
          PLAINTIFFS,                       §


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                                             §
 v.                                          §
                                             §
 MUCK HOLDINGS, LLC, JESSUP                  §
 HOLDINGS, LLC, FARALLON                     §
 CAPITAL MANAGEMENT, LLC,                    §
 STONEHILL CAPITAL                           §
 MANAGEMENT, LLC, JAMES P.                   §
 SEERY, JR., AND JOHN DOE
 DEFENDANTS NOS. 1-10

        DEFENDANTS.



                       VERIFIED ADVERSARY COMPLAINT

       Hunter Mountain Investment Trust (“HMIT”) files this Verified Adversary

Complaint in its individual capacity and, as a derivative action on behalf of the

Reorganized Debtor, Highland Capital Management L.P. (“HCM” or “Reorganized

Debtor”) and the Highland Claimant Trust (collectively “Plaintiffs”), complaining of

Muck Holdings, LLC (“Muck”), Jessup Holdings, LLC (“Jessup”), Farallon Capital

Management, LLC (“Farallon”), Stonehill Capital Management, LLC (“Stonehill”), James

P. Seery, Jr., (“Seery”) and John Doe Defendant Nos. 1-10 (Muck, Jessup, Stonehill,

Farallon, Seery and the John Doe Defendants Nos. 1-10 are collectively “Defendants”),

and would show:

                                     I. Introduction

       1.     HMIT brings this Verified Adversary Complaint (“Complaint”) on behalf

of itself, individually, and as a derivative action benefitting the Reorganized Debtor and



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on behalf of the Highland Claimant Trust (“Claimant Trust”), as defined in the Claimant

Trust Agreement (Doc. 3521-5) (“CTA”). 1 This derivative action is specifically brought

pursuant to Rule 23.1 of the Federal Rules of Civil Procedure and B. R. Rule 7023.1. At

the time of the transactions at issue, HMIT held a 99.5% limited partnership in Highland

Capital Management, LP, the Original Debtor, as described herein. This derivative action

is not a collusive effort to confer jurisdiction that the Court would otherwise lack.

        2.      Upon the Effective Date, the assets of the bankruptcy estate of Highland

Capital Management, L.P., as the Original Debtor (the “Debtor’s Estate”) were

transferred to the Highland Claimant Trust under the terms of the Fifth Amended Plan

of Reorganization of Highland Capital Management, L.P. (as Modified) [Doc. 1943,

Exhibit A] (the “Plan”) and as defined in the CTA. These assets include all “causes of

action” that the Debtor’s Estate had before the Effective Date including, without

limitation, the causes of action set forth in this Adversary Proceeding. Furthermore, the

Claimant Trust is managed by the Claimant Trustee, Seery. Therefore, any demand upon

Seery to prosecute the claims set forth in this Complaint would be futile because Seery is

a Defendant. Similarly, the Oversight Board exercises supervision over Seery as Claimant



1Solely in the alternative, and in the unlikely event HMIT’s proposed causes of actions against Seery,
Stonehill, Farallon, Muck, and/or Jessup are considered to be “Estate Claims” as those terms are used and
defined within the CTA and Exhibit A to the Notice of Final Term Sheet [Docket No. 354] in HCM’s
bankruptcy (and without admitting the same), HMIT alternatively seeks standing to bring this action as a
derivative action on behalf of the Litigation Sub-Trust as appropriate. Any demand on the Litigation Sub-
Trust would be equally futile for the same reasons addressed in HMIT’s Emergency Motion for Leave (Doc.
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Trustee, and Muck and Jessup are members of the Oversight Board. Any demand upon

Muck and Jessup to prosecute these claims would be equally futile. All conditions

precedent to bringing this derivative action have otherwise been satisfied.

       3.     This action has become necessary because of Defendants’ tortious conduct.

This tortious conduct occurred before the Effective Date of the Plan, but its effects have

caused damage both before and after the Effective Date. Prior to the Effective Date, HMIT

owned 99.5% of the limited partnership interest in the Original Debtor and was the

beneficiary of fiduciary duties owed by Seery.

       4.     Seery, the Original Debtor’s CEO and former Chief Restructuring Officer

(“CRO”), wrongfully facilitated and promoted the sale of large unsecured creditor claims

to his close business allies and friends, Farallon and Stonehill. He did so by providing

material non-public information to them concerning the value of the Original Debtor’s

Estate that other stakeholders did not know. Farallon and Stonehill, who were otherwise

strangers to the bankruptcy proceedings, wrongfully purchased the claims through their

special purpose entities, Muck and Jessup, based upon this inside information, and they

are now profiting from their misconduct. Seery’s dealings with the other Defendants

were not arm’s length, but instead were covert, undisclosed, and collusive.

       5.     Motivated by corporate greed, the other Defendants aided and abetted or,

alternatively, knowingly participated in Seery’s wrongful conduct. They also breached

their own duties as “non-statutory insiders.” Because of their long-standing, historical



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relationships with Seery, and their use of material non-public information, Farallon,

Stonehill, Muck, and Jessup assumed positions of control over the affairs of the Debtor’s

bankruptcy, including compensation awards to Seery. As such, they became non-

statutory insiders.

       6.     HMIT was formerly the largest equity holder in the Debtor, holding a 99.5%

limited partnership interest. HMIT now holds an Allowed Class 10 Class B/C Limited

Partnership Interest and a Contingent Trust Interest under the CTA. Given HMIT’s’

position as former equity, HMIT’s right to recover from the Claimant Trust is junior to

the Reorganized Debtor’s unsecured creditors, now known as Claimant Trust

Beneficiaries. However, the vast majority of the approved unsecured claims superior to

HMIT’s interest are the claims wrongfully acquired by insider trading and the breaches

of duty at issue in this proceeding.

       7.     By wrongfully soliciting, fostering, and encouraging the wrongful insider

trades, Seery violated his fiduciary duties to the Debtor’s Estate, specifically his duty of

loyalty and his duty to maximize the value of the Estate with corresponding recovery by

legitimate creditors and former equity. Seery was motivated out of self-interest to garner

personal benefit (to the detriment of the Debtor’s Estate) by strategically benefitting his

business allies with non-public information. He then successfully “planted” his allies

onto the Oversight Board, which, as a consequence does not act as an independent board

in the exercise of its responsibilities. Rather, imbued with powers to oversee Seery’s



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future compensation, the other Defendants are postured to reward Seery financially

regarding Defendants’ illicit dealings and, upon information and belief, they have done

so.

       8.     By receiving and acting upon material non-public information concerning

the financial condition of the Debtor’s Estate, Stonehill and Farallon, acting individually

and through special purpose shell entities they created and controlled, directly or

indirectly, are also liable for aiding and abetting Seery’s breaches of fiduciary duties. By

acquiring the claims at issue, Muck and Jessup, the shell entities created and controlled

by Stonehill and Farallon, also became non-statutory insiders owing duties of disclosure

which they also breached.

       9.     HMIT separately seeks recovery against John Doe Defendant Nos. 1-10.

Farallon actively concealed the precise legal relationship between Farallon and Muck.

Stonehill actively concealed the precise legal relationship between Stonehill and Jessup.

What is known, however, is that Farallon and Stonehill created these special purpose

shell entities on the eve of the insider trades to acquire ownership of the claims and to

otherwise control the affairs of the Oversight Board. Both Farallon and Stonehill rejected

inquiries concerning the exact nature of their relationship with these special purpose

entities. Accordingly, HMIT seeks equitable tolling of any statute of limitations

concerning claims against unknown business entities that Farallon and Stonehill may

have created and inserted as intermediate corporate layers in the transactions at issue.



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       10.    HMIT seeks to disgorge all Defendants’ ill-gotten profits and equitable

disallowance of the remaining unpaid balances on the following allowed claims: Claim

Nos. 23, 72, 81, 143, 147, 149, 150, 153, 154, 190, and 191 (the “Claims”) currently held by

Muck and Jessup. Because Defendants received substantial distributions from the

Claimant Trust in connection with these Claims, HMIT seeks to disgorge all such

distributions above Defendants’ initial investment—compelling restitution of such funds

to the Claimant Trust for the benefit of innocent creditors and former equity pursuant to

the waterfall established under the Plan and the CTA. HMIT also seeks to disgorge

Seery’s compensation from the date his collusive conduct first occurred. Alternatively,

HMIT seeks damages on behalf of the Claimant Trust in an amount equal to all

compensation paid to Seery from the onset of his collusive conduct to present.

                               II. Jurisdiction and Venue

       11.    Pursuant to Misc. Order No. 33 Order of Reference of Bankruptcy Cases, U.S.

District Court for N.D. Texas (the “Order of Reference”), this Complaint is commenced in

the Bankruptcy Court because it is “related to a case under Title 11.” The filing of this

Complaint is expressly subject to and without waiver of Plaintiff’ rights and ability to

seek withdrawal of the reference pursuant to 28 U.S.C. § 157(d), FED. R. BANKR. P. 5011,

and Local Bankruptcy Rule 5011-1. Plaintiffs hereby demand a right to a trial by jury of

all claims asserted herein and nothing in this Complaint, nor Plaintiffs’ compliance with

the Order of Reference, shall be deemed a waiver of this right.



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        12.   This Court has jurisdiction of the subject matter and the parties as a “related

to” proceeding pursuant to 28 U.S.C. §§ 1334 and 157(a) and Articles IX.F, and XI. of the

Plan.

        13.   Pursuant to Rule 7008 of the Bankruptcy Rules, Plaintiffs do not consent to

the entry of final orders or judgment by the bankruptcy court.

        14.   Venue is proper in this district and division pursuant to 28 U.S.C. §§ 1408

and 1409, and Articles IX.F, and XI. of the Plan.

                                        III. Parties

        15.   HMIT is a Delaware statutory trust that was the largest equity holder in the

Original Debtor, holding a 99.5% limited partnership interest. HMIT is also the holder of

a Contingent Trust Interest in the Claimant Trust, but should be treated as a vested

Claimant Trust Beneficiary due to Defendants’ wrongful conduct.

        16.   Pursuant to the Plan and the CTA, the Claimant Trust holds the assets of

the Reorganized Debtor, including the causes of action that accrued to the Original

Debtor before the Effective Date. The Claimant Trust is established in accordance with

the Delaware Statutory Trust Act and Treasury Regulatory Section 301.7701-4(d).

        17.   Muck is a Delaware limited liability company, with its principal office in

California, and may be served with process at One Maritime Plaza, Suite 2100, San

Francisco, CA 94111. Muck has made prior appearances in the Debtor’s bankruptcy.




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       18.    Jessup is a Delaware limited liability company, with its principal office in

New York, and may be served with process via its registered agent, Vcorp Services, LLC,

at 108 W. 13th Street Suite 100, Wilmington, Delaware 19801. Jessup has made prior

appearances in the Debtor’s bankruptcy.

       19.    Farallon is a Delaware limited liability company, with its principal office in

California, and may be served with process at One Maritime Plaza, Suite 2100, San

Francisco, CA 94111. Farallon is a capital management company that manages hedge

funds and is a registered investment advisor. This Court has personal jurisdiction over

Farallon because Farallon’s conduct giving rise to or relating to the claims in this

Adversary Proceeding occurred in Texas, thereby satisfying all minimum contacts

requirements and due process considerations.

       20.    Stonehill is a Delaware limited liability company, with its principal office

in New York, and may be served with process at 320 Park Avenue, 26th Floor, New York,

NY 10022. Stonehill is a capital management company managing hedge funds and is a

registered investment advisor. This Court has personal jurisdiction over Stonehill

because Stonehill’s conduct giving rise to or relating to the claims in this Adversary

Proceeding occurred in Texas, thereby satisfying all minimum contacts and all due

process considerations.

       21.    Seery is an individual citizen and resident of the State of New York. Mr.

Seery may be served with process at 100 Crescent Court, Suite 1805, Dallas, Texas 75201.



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              22.   John Doe Defendant Nos. 1-10 are currently unknown individuals or

business entities who may be identified in discovery as involved in the wrongful

transactions at issue.

                                              IV. Facts

              A.    Procedural Background

              23.   On October 16, 2019, the Debtor filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code in Delaware Bankruptcy Court,2 which was later

transferred to the Northern District of Texas Bankruptcy Court, Dallas Division, on

December 4, 2019. 3

              24.   On October 29, 2019, the U.S. Trustee’s office appointed a four-member

Unsecured Creditors Committee (“UCC”) consisting of three judgment creditors—the

Redeemer Committee of the Highland Crusader Fund (“Redeemer”); Acis Capital

Management, L.P. and Acis Capital Management GP, LLC (collectively “Acis”); and UBS

Securities LLC and UBS AG London Branch (collectively “UBS”)—and an unpaid vendor,

Meta-E Discovery.

              25.   Following the venue transfer to Texas, on December 27, 2019, the Debtor

filed its Motion of the Debtor for Approval of Settlement with the Official Committee of




2Doc. 3. Unless otherwise referenced, all documents referencing “Doc.” refer to the docket maintained in
Case No. 19-34054-sgj11 (Bankr. N.D. Tex.).
3   Doc. 1.



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Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the

Ordinary Course (“Governance Motion”). 4 On January 9, 2020, the Court signed a

Governance Order granting the Governance Motion. 5

          26.     As part of the Governance Order, an independent board of directors—

which included Seery as one of the selections of the Unsecured Creditors Committee—

was appointed to the Board of Directors (the “Board”) of Strand, the Original Debtor’s

general partner. The Board then appointed Seery as the Chief Executive Officer in place

of the previous CEO, Mr. James Dondero, as well as the CRO.6 Seery currently serves as

Trustee of the Claimant Trust under the terms of the CTA and the CEO of the

Reorganized Debtor. 7

          B.      The Targeted Claims

          27.     In his capacity as the Original Debtor’s CEO and CRO, Seery negotiated

and obtained court approval for settlements with several large unsecured creditors

including Redeemer, Acis, UBS, and another major unsecured creditor, HarbourVest

(Redeemer, Acis, UBS, and HarbourVest are collectively the “Settling Parties”), resulting

in the following allowed Claims:

                         Creditor            Class 8           Class 9
                         Redeemer            $137 mm           $0 mm

4   Doc. 281.
5   Doc. 339.
6   Doc. 854, Order Approving Retention of Seery as CEO/CRO.
7   See Doc. 1943, Order Approving Plan, p. 34.



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                        Acis             $23 mm            $0 mm
                        HarbourVest      $45 mm            $35 mm
                        UBS              $65 mm            $60 mm
                        (Totals)         $270 mm           $95 mm

As reflected in these settlements, HarbourVest and UBS owned Class 9 claims in addition

to Class 8 Claims. Class 9 Claims were subordinated to Class 8 Claims in the distribution

waterfall in the Plan.

          28.      Each of the Settling Parties sold their Claims to Farallon and Stonehill (or

affiliated special purpose entities) shortly after receiving court approval of the

settlements. One of these “trades” took place within just a few weeks before the Plan’s

Effective Date. 8 All of these trades occurred when HMIT held its 99.5% equity stake in

the Debtor. Notice of these trades was first provided in filings in the records of the

Original Debtor’s bankruptcy proceedings, as follows: Claim No. 23 (Doc. 2211, 2212, and

2215), Claim Nos. 190 and 191 (Doc. 2697 and 2698), Claim Nos. 143, 147, 149, 150, 153

and 154 (Doc. 2263), Claim No. 81 (Doc. 2262), Claim No. 72 (Doc. 2261).

          29.      Farallon and Stonehill, both of whom are registered investment advisors

that manage hedge funds, have fiduciary duties to their own investors. As such, they are

acutely aware of their duties and obligation as fiduciaries. Yet, they both invested many

tens of millions of dollars, directly or indirectly, to acquire the Claims in the absence of




8   Docs. 2697, 2698.



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any publicly available information that could provide any economic justification for their

investment decisions.

           30.     Upon information and belief, Stonehill and Farallon collectively invested

an estimated $160 million to acquire the Claims with a face amount of $365 million, and

they did so in the absence of any meaningful due diligence. Indeed, Farallon has admitted

that it conducted no due diligence but relied on Seery’s guarantees.

           31.     Stonehill and Farallon’s investments become even more suspicious because

the Plan provided the only publicly available information, which, at the time, included

pessimistic projections that the Claims would ever receive full payment:

                   a. From October 2019, when the original Chapter 11 Petition was
                      filed, to January 2021, just before the Plan was confirmed, the
                      projected value of HCM’s assets dropped over $200 million from
                      $566 million to $364 million. 9

                   b. HCM’s Disclosure Statement projected payment of 71.32% of
                      Class 8 claims, and 0% of claims in Classes 9-11. 10

                         o This meant that Farallon and Stonehill invested more than
                           $163 million in Claims when the publicly available
                           information indicated they would receive $0 in return on
                           their investment as Class 9 creditors and substantially less
                           than par on their Class 8 Claims.

                   c. In HCM’s Q3 2021 Post-Confirmation Report, HCM reported that
                      the amount of Class 8 claims expected to be paid dropped even
                      further from 71% to 54%.




9   Doc. 1473, Disclosure Statement, p. 18.
10   Doc. 1875-1, Plan Supplement, Ex. A, p. 4.



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                   d. Despite the stark decline in the value of the estate and in the
                      midst of substantial reductions in the percentage of Class 8
                      Claims expected to be satisfied, Stonehill, through Jessup, and
                      Farallon, through Muck, nevertheless purchased the four largest
                      bankruptcy claims from the Redeemer Committee/Crusader
                      Fund, Acis, HarbourVest, and UBS (collectively, again, the
                      “Claims”) in April and August of 2021 in the combined amount
                      of $163 million. 11

           32.     Upon information and belief, Stonehill, through its special purpose entity,

Jessup, acquired the Redeemer Committee’s claim for $78 million. 12 Upon information

and belief, the $23 million Acis claim 13 was sold to Farallon/Muck for $8 million. Upon

information and belief, HarbourVest sold its combined $80 million in claims to

Farallon/Muck for $27 million. UBS sold its combined $125 million in claims for $50

million to both Stonehill/Jessup and Farallon/Muck. In the instance of UBS, the total

projected payout was only $35 million. Indeed, as part of these transactions, both

Farallon and Stonehill purchased Class 9 Claims at a time when the Debtor’s Estate

projected a zero dollar return on all such Claims.




11Notices of Transfers [Docs. 2212, 2215, 2261, 2262, 2263, 2215, 2297, 2298]. The Acis claim was transferred
on April 16, 2021; the Redeemer, Crusader, and HarbourVest claims were transferred on April 30, 2021;
and the UBS claims were transferred on August 9, 2021.
12 July 6, 2021, letter from Alvarez & Marsal CRF Management, LLC to Highland Crusader Funds
Stakeholders.
13   Seery/HCM have argued that $10 million of the Acis claim is self-funding.



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           C.       Material Non-Public Information is Disclosed to Seery’s Affiliates at
                    Stonehill and Farallon.

           33.      One of the significant assets of the Debtor’s Estate was the Debtor’s direct

and indirect holdings in Metro-Goldwyn-Mayer Studios, Inc. (“MGM”). 14

           34.      On December 17, 2020, James Dondero, sent an email to Seery. At that time,

Dondero was a member of the MGM board, and the email contained material non-public

information regarding Amazon and Apple’s interest in acquiring MGM. 15 Of course, any

such sale would significantly enhance the value of the Original Debtor’s estate.

           35.      Upon receipt of this material non-public information, Seery should have

halted all transactions involving MGM stock, yet just six days later Seery filed a motion

in this Court seeking approval of the Original Debtor’s settlement with HarbourVest -

resulting in a transfer to the Original Debtor of HarbourVest’s interest in a Debtor-

advised fund, Highland CLO Funding, Ltd. (“HCLOF”), which held substantial MGM

debt and equity. 16 Conspicuously, the HCLOF interest was not transferred to the Original

Debtor for distribution as part of the bankruptcy estate, but rather to “to an entity to be

designated by the Debtor”—i.e., one that was not subject to typical bankruptcy reporting

requirements. 17




14   See Doc. 2229, p. 6.
15   See Adversary Case No. 20-3190-sgj11, Doc. 150-1, p. 1674.
16   Doc. 1625. Approximately 19.1% of HCLOF’s assets were comprised of debt and equity in MGM.
17   Doc. 1625.



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           36.     Upon information and belief, aware that the Debtor’s stake in MGM

afforded a new profit center, Seery saw an opportunity to increase his own compensation

and enlisted the help of Stonehill and Farallon to extract further value from the Original

Debtor’s Estate at the expense of other innocent creditors and equity. This quid pro quo

included, at a minimum, a tacit, if not express, understanding that Seery would be well-

compensated.

           37.     Until 2009, Seery was the Global Head of Fixed Income Loans at Lehman

Brothers 18 where, on information and belief, he conducted substantial business with

Farallon. Following the collapse of Lehman Brothers, Seery continued to work with, and

indeed represented Farallon as its legal counsel. Seery ultimately joined a hedge fund,

River Birch Capital, 19 which, along with Stonehill, served on the creditors committee in

other bankruptcy proceedings. GCM Grovesnor, a global asset management firm, held

four seats on the Redeemer Committee20 and, upon information and belief, is a significant

investor in Stonehill and Farallon. Grovesnor, through Redeemer, played a large part in

appointing Seery as a director of Strand Advisors. Seery was beholden to Grovesnor from

the outset, and, by extension, Grovesnor’s affiliates Stonehill and Farallon.




18   Seery Resume [Doc. 281-2].
19   Id.
20   Declaration of John A. Morris [Doc. 1090], Ex. 1, pp. 15.



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       38.    As successful capital management firms, with advisory and fiduciary

duties to their own clients, Stonehill and Farallon typically engage in robust due diligence

before making significant investments. Yet, in this case, it would have been impossible for

Stonehill and Farallon to forecast any profit at the time of their multi-million-dollar

investments given the negative financial information disclosed by the Original Debtor’s

Estate. Seery, as the CEO, was aware of and involved in approving these negative

financial projections. In doing so, Seery intentionally caused the publication of

misleading, false information.

       39.    Seery shared with Stonehill and Farallon non-public information concerning

the value of the Original Debtor’s Estate which was higher than publicly available

information. Thus, the only logical conclusion is that all Defendants knew that the

publicly available projections, which accompanied the Plan, were understated, false, and

misleading. Otherwise, Farallon, Muck, Stonehill and Jessup would not have made their

multi-million-dollar investments. None of the Defendants disclosed their knowledge of

the misleading nature of these financial projections when they had a duty to do so. None

of the Defendants disclosed the nature of their dealings in acquiring the Claims.

       40.    By wrongfully exploiting non-public insider information, Stonehill and

Farallon—acting through Muck and Jessup—became the largest holders of unsecured

claims in the Debtor’s Estate with resulting control over the Oversight Board and a front

row seat to the reorganization and distribution of Claimant Trust Assets. As such, they



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were given control (through Muck and Jessup) to approve discretionary bonuses and

success fees for Seery from these assets.

           D.     Distributions

           41.    The MGM sale was ultimately consummated in March 2022 for $6.1 billion

in cash, plus $2.5 billion in debt that Amazon assumed and immediately repaid.21

           42.    By the end of Q3 2021, just over $6 million of the projected $205 million

available for general unsecured claimants had been disbursed. 22 No additional

distributions were made to general unsecured claimholders until, suddenly, in Q3 2022

almost $250 million was paid toward Class 8 general unsecured claims—$45 million more

than was ever projected. 23 Thus, Stonehill (Jessup) and Farallon (Muck) have already

received returns that far eclipse their investment. They also stand to make further

significant profits on their investments, including payments on Class 9 Claims.

           43.    As of December 31, 2022, the Claimant Trust has distributed $255,201,228.

On a pro rata basis, that means that innocent creditors have received approximately

$22,373,000 in distributions against the stated value of their allowed claims. That leaves

a remaining unpaid balance of approximately $9,627,000.




21   Amazon Q1 2022 10-Q.
22   Doc. 3200.
23   Doc. 3582.



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       44.     Muck and Jessup already have received approximately $232.8 million on

their Claims. Assuming and original investment of approximately $160 million, this

represents over $72 million in ill-gotten profits that, if disgorged, would be far more than

what is required to fully pay all other innocent creditors - immediately placing HMIT in

the status of a vested Claimant Trust Beneficiary.

       45.     It is clear Seery facilitated the sale of the Claims to Stonehill (Jessup) and

Farallon (Muck) at discounted prices and used misleading financial projections to

facilitate these trades. This was part of a larger strategy to install Stonehill (Jessup) and

Farallon (Muck), his business allies, onto the Oversight Board where they would oversee

lucrative bonuses and other compensation for Seery in exchange for hefty profits they

expected to receive.

                                    V. Causes of Action

       A.      Count I (against Seery): Breach of Fiduciary Duty

       46.     The allegations in paragraphs 1-45 above are incorporated herein as if set

forth verbatim.

       47.     As CEO and CRO of a debtor-in-possession, Seery owed fiduciary duties to

HMIT, as equity, and to the Debtor’s Estate, including, without limitation, the duty of

loyalty. Seery also was under a duty to avoid conflicts of interests, but Seery willfully and

knowingly engaged in conduct which conflicted with his fiduciary duties—and he did so

out of financial self-interest.



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       48.     By fraudulently providing and/or approving negative projections of the

Debtor’s Estate when he knew otherwise, Seery willfully and knowingly breached his

fiduciary duties.

       49.     By misusing and disclosing confidential, material non-public information

to Stonehill and Farallon, Seery willfully and knowingly breached his fiduciary duties.

       50.     By failing to disclose his role in the inside trades at issue, Seery willfully

and knowingly breached his fiduciary duties.

       51.     As a result of his willful misconduct, Seery was unfairly advantaged by

receiving additional undisclosed compensation and bonuses from the assets of the

Debtor’s Estate and from the Claimant Trust Assets—to the detriment of other innocent

stakeholders, including HMIT, as former equity and a contingent Claimant Trust

Beneficiary.

       52.     To remedy these breaches, Seery is liable for disgorgement of all

compensation he received since his collusion with Farallon and Stonehill first began.

Alternatively, Seery should be disgorged of all compensation paid to him under the terms

of the CTA since the Effective Date of the Plan in August 2021.

       53.     Alternatively, Plaintiffs are entitled to recover damages measured by all ill-

gotten compensation which Seery has received since his first collusive conduct began.




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       B.     Count II (against Stonehill, Farallon, Jessup and Muck): Breaches of
              Fiduciary Duty and Knowing Participation in Breach of Fiduciary Duty

       54.    The allegations in paragraphs 1-53 above are incorporated herein as if set

forth verbatim.

       55.    Seery owed fiduciary duties to HMIT and the Debtor’s Estate, and he

willfully and knowingly breached these duties. Without limiting the foregoing, Seery

owed a duty of loyalty which he willfully and knowingly breached. Seery also owed a

duty to not engage in self-interested conduct to the detriment of the Debtor’s Estate and

innocent stakeholders. Seery also willfully and knowingly breached this duty.

       56.    Stonehill and Farallon were aware of Seery’s fiduciary duties and, by

purchasing the Claims and approving bonuses and other compensation for Seery,

Stonehill (acting through Jessup) and Farallon (acting through Muck), willfully and

knowingly participated in Seery’s breaches or, alternatively, willfully aided and abetted

such breaches.

       57.    Stonehill (Jessup) and Farallon (Muck) unfairly received many millions of

dollars in profits and fees—and stand to earn even more profits and fees—to the

detriment of innocent stakeholders, including HMIT.

       58.    Stonehill and Farallon are liable for disgorgement of all profits earned from

their purchase of the Claims. In addition, they are liable in damages for excessive

compensation paid to Seery as part of the covert quid pro quo with Seery.




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       C.     Count III (against all Defendants): Fraud by Misrepresentation and
              Material Nondisclosure

       59.    The allegations in paragraphs 1-58 above are incorporated herein as if set

forth verbatim.

       60.    Based on Seery’s duties as CEO and CRO of a debtor-in-possession, and the

other Defendants’ duties as non-statutory insiders, Seery, Stonehill (Jessup), and Farallon

(Muck) had a duty to disclose Stonehill and Farallon’s plans to purchase the Claims, but

they deliberately failed to do so. Seery also had a duty to disclose correct financial

projections but, rather, misrepresented such values or failed to correct false and

misleading projections. These factual misrepresentations and omissions were material.

       61.    The withheld financial information was material because it has had an

adverse impact on control over the eventual distributions to creditors and former equity,

as well as the right to control Seery’s compensation. By withholding such information,

Seery was able to plant friendly business allies on the Oversight Board to the detriment

of innocent stakeholders.

       62.    Defendants knew that HMIT and other creditors were ignorant of their

plans, and HMIT and other stakeholders did not have an equal opportunity to discover

their scheme. HMIT and the other innocent stakeholders justifiably relied on misleading

information relating to the value of the Original Debtor’s Estate.




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       63.    By failing to disclose material information, and by making or aiding and

abetting material misrepresentations, Seery, Stonehill, Farallon, Muck, and Jessup

intended to induce HMIT to take no affirmative action.

       64.    HMIT justifiably relied on Seery, Stonehill, Farallon, Muck, and Jessup’s

nondisclosures and representations, and HMIT was injured as a result and the Debtor’s

Estate was also injured.

       65.    As a result of their frauds, all Defendants should be disgorged of all profits

and ill-gotten compensation derived from their fraudulent scheme. Seery is also liable for

damages measured by excessive compensation he has received since he first engaged in

willful misconduct.

       D.     Count IV (against all Defendants): Conspiracy

       66.    The allegations in paragraphs 1-65 above are incorporated herein as if

incorporated herein verbatim.

       67.    Defendants conspired with each other to unlawfully breach fiduciary duties

to HMIT and the Debtor’s Estate, to conceal their fraudulent trades, and to interfere with

HMIT’s entitlement to the residual of the Claimant Trust Asset.

       68.    Seery’s disclosure of material non-public information to Stonehill and

Farallon, and Muck and Jessup’s purchase of the Claims, are each overt acts in

furtherance of the conspiracy.




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        69.   HMIT’s interest in the residual of the Claimant Trust Assets has been

adversely impacted by this conspiracy. The assets have been depleted by virtue of Seery’s

compensation awards.

        E.    Count V (against Muck and Jessup): Equitable Disallowance

        70.   The allegations in paragraphs 1-69 above are incorporated herein as if set

forth verbatim.

        71.   By purchasing the Claims based on material non-public information,

Stonehill and Farallon, through Jessup and Muck, engaged in inequitable conduct.

        72.   By earning significant profits on their purchases, Muck and Jessup have

been unfairly advantaged to the detriment of the remaining stakeholders, including

HMIT.

        73.   Given this inequitable conduct, equitable disallowance of Muck’s and

Jessup’s Claims to the extent over and above their initial investment is appropriate and

consistent with the purposes of the Bankruptcy Code.

        74.   Pleading in the alternative only, subordination of Muck’s and Jessup’s

General Unsecured Claim Trust Interests and Subordinated Claim Trust Interests to all

other interests in the Claimant Trust, including HMIT’s Contingent Trust Interest, is

necessary and appropriate to remedy Muck’s and Jessup’s wrongful conduct, and is also

consistent with the purposes of the Bankruptcy Code.




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       F.     Count VI (against all Defendants): Unjust Enrichment and Constructive
              Trust

       75.    The allegations in paragraphs 1-74 above are incorporated herein as if set

forth verbatim.

       76.    By acquiring the Claims using material non-public information, Stonehill

and Farallon breached a relationship of trust with the Original Debtor’s Estate and other

innocent stakeholders and were unjustly enriched and gained an undue advantage over

other creditors and former equity.

       77.    Allowing Stonehill, Farallon, Muck and Jessup to retain their ill-gotten

benefits at the expense of other innocent stakeholders and HMIT, as former equity, would

be unconscionable.

       78.    Stonehill, Farallon, Muck, and Jessup should be forced to disgorge all

distributions over and above their original investment in the Claims as restitution for

their unjust enrichment.

       79.    The proceeds Stonehill, Farallon, Muck, and Jessup have received from the

Claimant Trust are traceable and identifiable. A constructive trust should be imposed on

such proceeds to secure the restitution of these improperly retained benefits.

       F.     Count VI (Against all Defendants): Declaratory Relief

       80.    The allegations in paragraphs 1-79 are incorporated herein as if set forth

verbatim.




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       81.    HMIT seeks declaratory relief. The Court has jurisdiction to provide

declaratory judgment relief when there is an actual controversy that has arisen and exists

relating to the rights and duties of the parties.

       82.    Bankruptcy Rule 7001 provides that “a proceeding to recover property or

money,” may include declaratory relief. See, Fed. R. Bank P. 7001(1), (9).

       83.    The Claimant Trust Agreement is governed under Delaware law. The

Claimant Trust Agreement incorporates and is subject to Delaware trust law. HMIT seeks

a declaration, as follows:

                  a. There is a ripe controversy concerning HMIT’s rights and
                     entitlements under the Claimant Trust Agreement;

                  b. As a general matter, HMIT has standing to bring an action
                     against a trustee even if its interest is considered contingent;

                  c. HMIT’s status as a Claimant Trust Beneficiary is fully vested
                     upon disgorgement of the ill-gotten profits of Muck and
                     Jessup, and by extension, Farallon and Stonehill;

                  d. HMIT’s status as a Claimant Trust Beneficiary is fully vested
                     upon the equitable disallowance of the Claims held by Muck
                     and Jessup over and above their initial investments.
                     Alternatively, HMIT’s status as a Claimant Trust Beneficiary
                     is fully vested when all of Muck’s and Jessup’s trust interests
                     are subordinated to the trust interests held by HMIT;

                  e. Seery is properly estopped from asserting that HMIT is not an
                     appropriate party to bring this derivative action on behalf of
                     the Reorganized Debtor and/or the Claimant Trust because of
                     Seery’s fraudulent conduct, bad faith, willful misconduct and
                     unclean hands;




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                 f. Muck and Jessup are properly estopped from asserting that
                    HMIT is not an appropriate party to bring this derivative
                    action on behalf of the Reorganized Debtor and the Claimant
                    Trust because of their fraudulent conduct, bad faith, willful
                    misconduct and unclean hands;

                 g. All Defendants are estopped from asserting that HMIT does
                    not have standing in its individual capacity due to their
                    fraudulent conduct, bad faith, willful misconduct and
                    unclean hands.

                                 VI. Punitive Damages

       84.    The allegations in paragraphs 1-74 are incorporated herein as if set forth

verbatim.

       85.    The Defendants’ misconduct was intentional, knowing, willful and

fraudulent and in total disregard of the rights of others. An award of punitive damages

is appropriate and necessary under the facts of this case.

       86.    All conditions precedent to recovery herein have been satisfied.

                                       VII. Prayer

       WHEREFORE, HMIT prays for judgment as follows:

       1.     Equitable disallowance of the Claims over and above Muck’s and Jessup’s
              original investments (or, alternatively, subordination of their Claimant
              Trust Interests, as addressed herein);

       2.     Disgorgement of all funds distributed from the Claimant Trust to Muck
              and/or Jessup over and above their original investments;

       3.     Disgorgement of compensation paid to Seery in managing or administering
              the Original and Reorganized Debtor’s Estate;

       4.     Imposition of a constructive trust;



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       5.     Declaratory relief as described herein;

       6.     An award of actual damages as described herein;

       7.     An award of exemplary damages as allowed by law;

       8.     Pre- and post-judgment interest; and,

       9.     All such other and further relief to which HMIT may be justly entitled.



                                                 Respectfully Submitted,

                                                 PARSONS MCENTIRE MCCLEARY
                                                 PLLC

                                                 By: /s/
                                                      Sawnie A. McEntire
                                                      Texas State Bar No. 13590100
                                                      smcentire@pmmlaw.com
                                                      1700 Pacific Avenue, Suite 4400
                                                      Dallas, Texas 75201
                                                      Telephone: (214) 237-4300
                                                      Facsimile: (214) 237-4340

                                                     Roger L. McCleary
                                                     Texas State Bar No. 13393700
                                                     rmccleary@pmmlaw.com
                                                     One Riverway, Suite 1800
                                                     Houston, Texas 77056
                                                     Telephone: (713) 960-7315
                                                     Facsimile: (713) 960-7347

                                                     Attorneys for Hunter Mountain
                                                     Investment Trust




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                       Motion
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                              for23-6
                                 Exhibit
                                  LeaveFiled
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                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
                              forExhibit
                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
                              forExhibit
                                  LeaveFiled
                                 23-6    2to File
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
                              forExhibit
                                  LeaveFiled
                                 23-6    2to File
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                 23-6    2to File
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                         03/28/23 Entered 04/05/23
                                                              03/28/23 11:56:10
                                                                       16:02:23 Desc
Exhibit HMIT Emergency Motion
                        Exhibit
                              forExhibit
                                  Leave2to File
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                 23-6    2to File
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
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                                 23-6    2to File
                                             Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
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                                 23-6    2to File
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
                              forExhibit
                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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                                               12/07/23     PageAppeal   Page
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                                                                            PageID   418




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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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                                               12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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                                               12/07/23     PageAppeal   Page
                                                                 98 of 214    127 of1761
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit3:23-cv-02071-E
Case    HMIT EmergencyDocument
                       Motion
                        Exhibit
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                                  LeaveFiled
                                 23-6    2to File
                                             Page Interlocutory
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                                               12/07/23     PageAppeal   Page
                                                                 99 of 214    128 of1762
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                              12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                              12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                              12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                              12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                              12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                              12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                              12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                              12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                              12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
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                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
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                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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                                 Exhibit
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                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
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     3:23-cv-02071-E   Motion
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
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     3:23-cv-02071-E   Motion
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                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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                                 Exhibit
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                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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     3:23-cv-02071-E   Motion
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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     3:23-cv-02071-E   Motion
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                                 Exhibit
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                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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     3:23-cv-02071-E   Motion
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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     3:23-cv-02071-E   Motion
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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Exhibit
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     3:23-cv-02071-E   Motion
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
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     3:23-cv-02071-E   Motion
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                                 Exhibit
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
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     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
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     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
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     3:23-cv-02071-E   Motion
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
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     3:23-cv-02071-E   Motion
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                              12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
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     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
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     3:23-cv-02071-E   Motion
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
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     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                                                            PageID  418




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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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                                              12/07/23     PageAppeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                  Leave  2to File
                                       Filed Page Interlocutory
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                                                                         002588
Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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                                  Leave  2to File
                                       Filed Page Interlocutory
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                                                                         002589
Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
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     3:23-cv-02071-E   Motion
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                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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Exhibit
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     3:23-cv-02071-E   Motion
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                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
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Exhibit
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     3:23-cv-02071-E   Motion
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
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                                  Leave  2to File
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
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     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
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                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
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     3:23-cv-02071-E   Motion
                         Exhibit
                              for23-6
                                 Exhibit
                                  Leave  2to File
                                       Filed Page Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                          3699-2 Filed 04/05/23
                                           03/28/23 Entered 04/05/23
                                                                03/28/23 11:56:10
                                                                         16:02:23 Desc
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Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                         Exhibit
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                                 Exhibit
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
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     3:23-cv-02071-E   Motion
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
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     3:23-cv-02071-E   Motion
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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     3:23-cv-02071-E   Motion
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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     3:23-cv-02071-E   Motion
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                          03/28/23 Entered 04/05/23
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
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     3:23-cv-02071-E   Motion
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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     3:23-cv-02071-E   Motion
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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                                         FiledFile Interlocutory
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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     3:23-cv-02071-E   Motion
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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                                               12/07/23     177 Appeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
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     3:23-cv-02071-E   Motion
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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                                         FiledFile Interlocutory
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                                               12/07/23     177 Appeal   Page
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
                                 Exhibit
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
                                 Exhibit
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
                                 Exhibit
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
                                 Exhibit
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
                                 Exhibit
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                                         FiledFile Interlocutory
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Case 19-34054-sgj11 Doc 3721-2
                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
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Exhibit
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     3:23-cv-02071-E   Motion
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                         3699-2 Filed 04/05/23
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                                                                 03/28/23 11:56:10
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Exhibit
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     3:23-cv-02071-E   Motion
                        Exhibitfor
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                         3699-2 Filed 04/05/23
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                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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     3:23-cv-02071-E   Motion
                        Exhibitfor
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                         3699-2 Filed 04/05/23
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Exhibit
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                                                                          16:02:23 Desc
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
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Case    HMIT EmergencyDocument
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                                         FiledFile Interlocutory
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
                                                                 03/28/23 11:56:10
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Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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                                                                 03/28/23 11:56:10
                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                            03/28/23 Entered 04/05/23
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
                                 Exhibit
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                                                                          16:02:23 Desc
Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
                                 Exhibit
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                                         FiledFile Interlocutory
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
                                 Exhibit
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                                         FiledFile Interlocutory
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
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                                         FiledFile Interlocutory
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                                            03/28/23 Entered 04/05/23
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
                                 Exhibit
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                                         FiledFile Interlocutory
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
                        Exhibitfor
                                 Exhibit
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                         3699-2 Filed 04/05/23
                                            03/28/23 Entered 04/05/23
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Exhibit
Case    HMIT EmergencyDocument
     3:23-cv-02071-E   Motion
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